                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE


 UNITED STATES OF AMERICA                              )
                                                       )
 v.                                                    )            NO. 3:20-CR-59
                                                       )
 RANDALL FISHER HENRY                                  )
                                                       )


                           REPORT AND RECOMMENDATION

         Pursuant to 28 U.S.C. § 636(b), I conducted an initial appearance and arraignment,

 immediately followed by plea hearing, in this case on August 11, 2020. Mr. Henry was present b

 video teleconference, as was his attorney, Mr. Stephen Ross Johnson. In accordance with the plea

 agreement, Mr. Henry waived his right to an indictment and entered a plea of guilty to Count One

 of the Information, that is, false labeling of plants (American Ginseng) transported in

 interstate/foreign commerce and valued over $350, in violation of 16 U.S.C. §§ 3372(d)(2),

 3373(d)(3)(A)(ii), and 18 U.S.C. § 2, in exchange for the undertakings made by the government

 in the plea agreement.

        On the basis of the record made at the hearing, I find the defendant is fully capable and

 competent to enter an informed plea; the plea is made knowingly and with full understanding of

 each of the rights waived by defendant; the plea is made voluntarily and free from any force,

 threats, or promises, apart from the promises in the plea agreement; the defendant understands the

 nature of the charge and penalties provided by law; and the plea has a sufficient basis in fact.

        Therefore, in light of the agreement of the parties and the reasons stated by counsel on the

 record, I RECOMMEND that the Court find that the plea hearing in this case could not be further

 delayed without serious harm to the interests of justice.

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                  I further RECOMMEND that Mr. Henry's guilty plea as to Count One of the Information,

           that is, false labeling of plants (American Ginseng) transported in interstate/foreign commerce and

           valued over $350, in violation of 16 U.S.C. §§ 3372(d)(2), 3373(d)(3)(A)(ii), and 18 U.S.C. § 2,

           be accepted and the Court adjudicate Mr. Henry guilty of the charge in Count One of the

           Information. I further RECOMMEND that Mr. Henry be released on his own recognizance

          pending sentencing pursuant to the conditions ofrelease identified in the Order Setting Conditions

           of Release, which will be entered separately. Acceptance of the plea, adjudication of guilt,

           acceptance of the plea agreement, and imposition of sentence are specifically reserved for the

          district judge.




                                                                C. Clifford S . I y,
                                                                United States agistrate Judge




                                              NOTICE TO PARTIES

                  You have the right to de nova review of the foregoing findings by the district judge. Any
          application for review must be in writing, must specify the portions of the findings or proceedings
          objected to, and must be filed and served no later than fourteen (14) days after the plea hearing.
          Failure to file objections within fourteen (14) days constitutes a waiver of any further right to
          challenge the plea of guilty in this matter. See 28 U.S.C. § 636(b).




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